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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

TRANSPORT MUTUAL INSURANCE                          )
ASSOCIATION/TT CLUB MUTUAL                          )
INSURANCE a/s/o PS HOLDCO, LLC                      )         CASE NO.: 1:24-CV-00428
                                                    )
        Plaintiffs,                                 )
                                                    )
v.                                                  )         JURY TRIAL DEMANDED
                                                    )
NZUH TRANSPORTATION, LLC,                           )
                                                    )
        Defendant.                                  )

                                          COMPLAINT

        COMES NOW Plaintiff Transport Mutual Insurance Association/TT Club Mutual

Insurance a/s/o PS Holdco, LLC (hereinafter “Plaintiff PS Holdco”), by and through the

undersigned counsel, and files this Complaint alleging as follows against Defendant Nzuh

Transportation, LLC (hereinafter “Defendant Nzuh Transportation”):

                                 JURISDICTION AND VENUE

        1.     This cause of action arises from the Carmack Amendment to the Interstate

Commerce Act of 1887 (hereinafter “Carmack Amendment”), 49 U.S.C. § 14706 et seq.

        2.     Additionally, under 28 U.S.C. § 1332, this cause of action falls within the Court’s

diversity jurisdiction because of the complete diversity of the parties and the amount in controversy

exceeding $75,000, excluding interest and costs.

        3.     Under 28 U.S.C. § 1367, this Court retains supplemental jurisdiction over the

common law and statutory claims.

        4.     Under 28 U.S.C. § 1391, venue is proper in this District.




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                                             PARTIES

       5.      Plaintiff PS Holdco was and now is a corporation or other business organization or

other entity organized under and by virtue of the laws of the State of Delaware, which at all material

times herein maintained its offices in Delaware.

       6.      Defendant Nzuh Transportation was and now is a corporation or other business

organization or other entity organized under and by virtue of the laws of the State of Texas, which

at all material times herein maintained its offices in Garland, Texas.

                                              FACTS

       7.      At all material times herein, Plaintiff PS Holdco brokered a load of 38,000 lbs. of

metal stamping.

       8.      Plaintiff PS Holdco brokered a deal for the metal stamping at issue              to be

transported from Waterbury, CT, to LaGrange, GA by Defendant Nzuh Transportation.

       9.      On or about, June 10, 2022, during transit, Defendant Nzuh Transportation’s truck

transporting the cargo was involved in an accident while in the care, custody, and control of

Defendant Nzuh Transportation.

       10.     The accident, while in the care, custody, and control of Defendant Nzuh

Transportation, resulted in extensive damage to the cargo.

       11.     Prior to the accident, the 38,000 lbs. of metal stamping had a fair market value of

$92,689.92.

       12.     After the accident, the salvage value of 38,000 lbs. of metal stamping was

$3,529.69.

       13.     As contractually required, Plaintiff PS Holdco filed a direct claim within nine

months with Defendant Nzuh Transportation to recover $89,160.23.




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        14.     On or about January 19, 2023, Defendant Nzuh Transportation denied the claim

that Plaintiff PS Holdco filed and thus contractually granted Plaintiff PS Holdco two years from

the date of that denial to file suit.

                  FIRST CAUSE OF ACTION - CARMACK AMENDMENT

        15.     Plaintiff PS Holdco repeats and realleges each allegation from paragraphs 1 through

14 as if set forth fully herein.

        16.     On or about June 10, 2022, Plaintiff PS Holdco, as shipper, shipped and delivered

to Defendant Nzuh Transportation, as common carrier, a shipment consisting of 38,000 lbs. of

metal stamping, and Defendant Nzuh Transportation accepted said shipment so shipped and

delivered to it, and, in consideration of certain agreed freight charges thereupon paid or agreed to

be paid, agreed to transport and carry said shipment by truck, and to deliver the same in like good

order and condition as when shipped, delivered to and received by it to LaGrange, GA, and

representations entered into by all in accordance with the agreements by Defendant Nzuh

Transportation on or about June 9, 2022.

        17.     Thereafter, on or about June 10, 2022, Defendant Nzuh Transportation was

involved in an accident in Virginia, which damaged and impaired the cargo in value, all in violation

of the Defendant Nzuh Transportation’s obligations and duties as interstate motor common carrier

of merchandise for hire and delivered not in the same good order and condition as received.

        18.     With respect to the interstate road carriage of the cargo, Defendant Nzuh

Transportation was at all material times engaged in the business of a motor carrier and was a

receiving, delivering, transporting and/or other carrier within the meaning of the Carmack

Amendment.




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       19.     The damage sustained to the shipment in suit was proximately caused in whole or

in part by events during interstate road carriage as the shipment was in the actual, constructive, or

contractual custody of Defendant Nzuh Transportation and/or entities acting on its behalf.

       20.     By reason of the foregoing premises, Defendant Nzuh Transportation is liable,

without limitation of any kind, as carriers and/or forwarders under the Carmack Amendment, to

Plaintiff PS Holdco and/or those on whose behalf it sues have sustained damages, for all damages,

costs and/or expenses, et cetera, allowed pursuant to the Carmack Amendment, including but not

limited to the difference between the fair market pre-damaged condition on June 9, 2022, and its

fair market post-casualty value, no part of which has been paid although duly demanded.

       WHEREFORE, Plaintiff PS Holdco respectfully requests that the Court enter judgment in

its favor against the Defendant Nzuh Transportation as follows:

       A.      On the First Cause of Action, for its actual and all other damages allowed by law

and/or equity in an amount not less than $89,160.23, plus interest, attorney’s fees and costs as

allowed by law;

       B.      Damages pursuant to the Carmack Amendment;

       C.      Damages, penalties, punitive damages, attorney’s fees and costs;

       D.      Punitive damages, including attorney's fees and all other costs of litigation, to be

determined by this Court; and

       E.      Such other and further relief as the Court deems just and proper.



                                                    Respectfully submitted,

                                                    /s/ Christopher L. George
                                                    CHRISTOPHER L. GEORGE (GEORC0326)
                                                    Attorney for the Plaintiff




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